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              8                             UNITED STATES DISTRICT COURT
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                                         SOUTHERN DISTRICT OF CALIFORNIA
     10
     11            UNITED STATES OF AMERICA,                Case No.:    1 9MJ 4 4 5 3
     12                            Plaintiff,
     13                                                     COMPLAINT FOR VIOLATION OF:
                              V.
     14                                                     Title 18, U.S.C., Section 1591(a) and (b)(l)­
                   MICHAEL JAMES PRATT (1)                  Sex Trafficking by Force, Fraud, or
     15
                   MATTHEW ISAAC WOLFE (2),                 Coercion; Title 18, U.S.C., Section 1594(c)­
     16            RUBEN ANDRE GARCIA (3),                  Conspiracy to Commit Sex Trafficking by
     17            VALORIE MOSER (4),                       Force, Fraud, or Coercion; and Title 18,
                                                            U.S.C., Section 1594(d)- Criminal
     18                            Defendants.              Forfeiture
     19
     20
                         The undersigned Complainant, being duly sworn, states:
     21
                                                         Countl
     22
                                                    (18 u.s.c. § 1591)
     23
                         In or about May 2015, within the Southern District of California and elsewhere,
     24
                  defendants MICHAEL JAMES PRATT, MATTHEW WOLFE, and RUBEN ANDRE
     25
                  GARCIA, in and affecting interstate commerce, knowingly did recruit, entice, harbor,
     26
                  transport, provide, obtain, advertise, maintain, patronize, and solicit, by any means a
     27
                  person, to wit, Adult Female I ("AF- I"), knowing and in reckless disregard of the fact
     28                                                      1
                  Complaint
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